                       Case 2:19-cv-00651-MHT-CSC Document 3 Filed 10/07/19 Page 1 of 2

                                       The                                                          O           The
                                 (1/11/'-ed ,9-aYes-                                       hta 774/Icid/e
                                                                                              ,/e/-n
                                                       1019 OCT -1 A         WI
            (
                                                     DEBRA P. HACKETT, CLIJ
                                                          OISTR1CT COURT
                                                       WOLF ilinTRICT ALA )
                                                                                    CR/4 (-2,-(1,11.077   a,
                                                                                      ,-)1,i6c,17/015./- -iviA/7-
                 a




                                          2            r

             0/ ,acti2Se/                 :
                                          fr             .,,e7/        _                                 ,/ ,.
                 I4,
                                4eie" , _41.8
                             l'15                                          /'   'Ker
                                                                             i '' ' --- ,i _,,
                                                                                            ,  ,,,, ,C)/1-.
                                                                                                         1/ /   0, ,7   —   .-—- —




  i9    f    .7L
             7 / "/l '11,:   ✓   (5L-77'     efV
                                               S '     -1--'t (r-? ,c",71a77                     / /-7._(:( 7y ).-- i
  r
      , -i              e' )       , c             '                              / -          /7410/1eY:ir
                                                                                             e7/

   e '
 Ci) 40IP (
          AC                             Ai0s',_       '                            ,          (
                                                                                %
17/26- a/i:L__,/,_, z6e(z.7 A cz)                                      .,          / /Lc , ., „
 i (-__ '1---,-7'7re/-
             1/71-g 4104
                       '--1,Z° o/ - /Crag_C )461.° (77),_/-17t"                                       62K-
                                                                                                         1,,7 72 _61--I
                                                                                                                      l
                        I                                                                             LI
       (Ia,q..-)        .



                             (7- Y7/7.                                               2/‘
 77ice pe/th-Of2e7                                           io.y^          a
    g-A/ameti a/io                                                          2,
                                                                           7/
                                                                            1                 A                  ,
14-1d_abai-77e 240                                                          c,

                                                                     _5--4/161fiterg
                                                                                P)-/- /9
Case 2:19-cv-00651-MHT-CSC Document 3 Filed 10/07/19 Page 2 of 2




                                                                          (5
           ,e /4      1     -11X                                                       %hi"
    e,/ -7       a   4                                    y.:/d/:i
                 f- ee.44(e)/1
         -1/ (/ fr
                   s/
                oZ/a
                      /    57) ga2-
   , ?..e?1//' Ye
                                                                                     0-002> t
                                                                              <z>1188Di                        k 5-)
                                                                                                                   --
                                                                                        strict Cour      ChbtrO
                                                                                                  OX
                                                                                       14'44143. B AL 36104
                                                                                       11ilontgomery,             //,
                                                                                                    es
                                                                                        United Stat
                                                                                   •                  0(Oh S            Pri-hi7)11

                                                              -.:3FEEF-2ii9
                                          • *-7.ie: C14::i:'*
                                    •"'
                                                                                                   66
                                                                                                  07
